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                                                                      Barry Coburn
                                                                      Admitted DC, MD, VA, NY
                                                                      Direct Dial: 202-643-9472

                                         October 20, 2019

VIA ECF
The Honorable Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
New York, NY 10007

       Re:     Kinsey v. The New York Times Company, Case No. 1:18-cv-12345-VSB

Dear Judge Broderick:

        Our understanding is that a letter to the Court, apprising it of possibly relevant
supplemental authority, is supposed to be limited to a brief description of the additional
authority. That is what we sought to do in our letter of August 26, 2019, apprising the Court of
the United States Court of Appeals’ opinion in Palin v. N.Y. Times Co., No. 17-3801-cv, 2019
U.S. App. LEXIS 23439 (2d Cir. Aug. 6, 2019). Given, however, that Defendant The New York
Times has, twice now, sought to argue its view of the significance of this opinion in
correspondence with the Court, we are constrained to offer this brief response.

        As the New York Times correctly notes, the panel that filed the original Palin opinion
issued an amended opinion on October 15, 2019. This amended opinion, a copy of which is
attached to this letter, effects some changes in the language used but alters neither the holding
nor the thrust of the opinion, as it relates to the doctrine of recklessness in the context of a
defamation case. In particular, the amended opinion states, in pertinent part:

               In both the original complaint and the PAC [Proposed Amended Complaint],
               Palin's overarching theory of actual malice is that [Editorial Page Editor] Bennet
               had a "pre-determined" argument he wanted to make in the editorial. Bennet's
               fixation on this set goal, the claim goes, led him to publish a statement about Palin
               that he either knew to be false, or at least was reckless as to whether it was false.
               The PAC contains allegations that paint a plausible picture of this actual-malice
               scenario in three respects: (1) Bennet's background as an editor and political
               advocate provided sufficient evidence to permit a jury to find that he published
               the editorial with deliberate or reckless disregard for its truth, (2) the drafting and
               editorial process also permitted an inference of deliberate or reckless falsification,
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             and (3) the Times' subsequent correction to the editorial did not undermine the
             plausibility of that inference. . . .

             By crediting Bennet's testimony, the district court rejected a permissible inference
             from the articles: that one who had risen to editor-in-chief at The Atlantic knew
             their content and thus that there was no connection between Palin and the
             Loughner shooting. That Palin's complaint sufficiently alleges that Bennet's
             opportunity to know the journalistic consensus that the connection was lacking
             gives rise to the inference that he actually did know. . . .

             We agree with the district court that political opposition alone does not constitute
             actual malice, but we conclude that these allegations could indicate more than
             sheer political bias—they arguably show that Bennet had a personal connection to
             a potential shooting that animated his hostility to pro-gun positions at the time of
             the Loughner shooting in 2011. Palin's allegations are relevant to the credibility
             of Bennet's testimony that he was unaware of facts published on his watch
             relating to the Loughner shooting and that he made a mistake when he connected
             Palin to the that shooting. Palin's allegations present a plausible inference that
             Bennet's claim of memory loss is untrue. . . .

             At a minimum, these allegations give rise to a plausible inference that Bennet was
             recklessly disregarding the truth when he published the editorial without
             reacquainting himself with the contrary articles published in The Atlantic six
             years earlier. And that plausible inference of reckless disregard is strengthened
             when added to Palin's allegations that Bennet had reason to be personally biased
             against Palin and pro-gun positions in general. When properly viewed in the
             plaintiff's favor, a reasonable factfinder could conclude this amounted to more
             than a mistake due to a research failure.

             At bottom, it is plain from the record that the district court found Bennet a
             credible witness, and that the district court's crediting his testimony impermissibly
             anchored the district court's own negative view of the plausibility of Palin's
             allegations.

             The district court at one point stated that Bennet's "behavior is much more
             plausibly consistent with making an unintended mistake and then correcting it
             than with acting with actual malice." Perhaps so, but it is not the district court's
             province to dismiss a plausible complaint because it is not as plausible as the
             defendant's theory. The test is whether the complaint is plausible, not whether it
             is less plausible than an alternative explanation. The jury may ultimately agree
             with the district court's conclusion that Bennet was credible—but it is the jury that
             must decide. Therefore, at the pleading stage, we are satisfied that Palin has met
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               her burden to plead facts giving rise to the plausible inference that Bennet
               published the allegedly defamatory editorial with actual malice. We emphasize
               that actual malice does not mean maliciousness or ill will; it simply means the
               statement was "made with knowledge that it was false or with reckless disregard
               of whether it was false or not." Here, given the facts alleged, the assertion that
               Bennet knew the statement was false, or acted with reckless disregard as to
               whether the statement was false, is plausible.

Hence, the language of the Palin opinion, as amended, remains directly relevant to our
contention that we have pleaded sufficient facts concerning recklessness to allow the Kinsey case
to proceed to discovery.


Respectfully submitted,




Counsel for Plaintiff

cc:    David Edward McCraw, Esq. (Counsel for Defendant)
       Al-Amyn Shiraz Sumar, Esq. (Counsel for Defendant)
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Document (1)

 1. Palin v. New York Times Co., 2019 U.S. App. LEXIS 30640
  Client/Matter: kinsey




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                                           Palin v. New York Times Co.
                                United States Court of Appeals for the Second Circuit
                                September 21, 2018, Argued; August 6, 2019, Decided
                                                    No. 17-3801-cv

Reporter
2019 U.S. App. LEXIS 30640 *
SARAH PALIN, an individual, Plaintiff-Appellant,            App. LEXIS 23439 (2d Cir. N.Y., Aug. 6, 2019)
v. THE NEW YORK TIMES COMPANY,
                                                            Core Terms
Defendant-Appellee.
                                                       district court, editorial, shooting, actual malice,
Subsequent History: [*1] Amended: October 15,
                                                       allegations, pleadings, motion to dismiss, map,
2019.
                                                       defamation, summary judgment, quotation, marks,
Prior History: Appeal from the United States convert, political action committee, district judge,
District Court for the Southern District of New argues, hyperlinked, correction, crosshairs, articles,
York. No. 17-cv-04853 — Jed S. Rakoff, Judge.          reckless disregard, integral, challenged statement,
                                                       credibility, defamatory, discovery, districts,
This case is ultimately about the First Amendment, drafting, targeted
but the subject matter implicated in this appeal is
far less dramatic: rules of procedure and pleading Case Summary
standards. Sarah Palin appeals the dismissal of her
defamation complaint against The New York Times
                                                       Overview
("the Times") for failure to state a claim. The
district court (Rakoff, J.), uncertain as to whether HOLDINGS: [1]-The district court erred in
Palin's complaint plausibly alleged all of the dismissing a political figure's defamation claim
required elements of her defamation claim, held an against a newspaper, stemming from an article
evidentiary hearing to test the sufficiency of Palin's connecting her to the shooting of a congresswoman,
pleadings. Following the hearing, and without for failure to state a claim under Fed. R. Civ. P.
converting the proceeding to one for summary 12(b)(6) because it relied on evidence adduced at a
judgment, the district court relied on evidence Fed. R. Civ. P. 43(c) hearing without converting the
adduced at that hearing to dismiss Palin's complaint motion to one for summary judgment under Fed. R.
under Federal Rule of Civil Procedure 12(b)(6). Civ. P. 56; the hearing testimony could not have
We find that the district court erred in relying on been integral to the complaint; and even if the
facts outside the pleadings to dismiss the complaint. motion had been properly converted with notice,
We further conclude that Palin's Proposed the district court impermissibly relied on credibility
Amended Complaint plausibly states a claim for determinations; [2]-The proposed amended
defamation and may proceed to full discovery.          complaint sufficiently stated a claim where the
We therefore VACATE and REMAND for                          allegations gave rise to a plausible inference that
proceedings consistent with this opinion.                   the editor was recklessly disregarding the truth
                                                            when he published the editorial, strengthened by
Palin v. N.Y. Times Co., 933 F.3d 160, 2019 U.S.            the allegation that the editor had reason to be

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personally biased.                                          Torts > ... > Defamation > Public
                                                            Figures > Actual Malice
Outcome
Judgment vacated and remanded.                          HN3[ ] Public Figures, Actual Malice

LexisNexis® Headnotes                                   When actual malice in making a defamatory
                                                        statement is at issue, the critical question is the state
                                                        of mind of those responsible for the publication.


                                                            Civil
   Civil Procedure > Appeals > Standards of
                                                            Procedure > ... > Pleadings > Complaints > Req
   Review > De Novo Review
                                                            uirements for Complaint
   Civil Procedure > ... > Defenses, Demurrers &
                                                        HN4[ ]    Complaints,           Requirements         for
   Objections > Motions to Dismiss > Failure to
                                                        Complaint
   State Claim
                                                        In order to satisfy Fed. R. Civ. P. 8, a complaint
HN1[ ] Standards of Review, De Novo Review
                                                        must contain enough facts to state a claim to relief
The court of appeals reviews a district court's grant   that is plausible on its face. A claim is plausible
of a motion to dismiss the complaint on the             when the plaintiff pleads factual content that allows
pleadings de novo and construe the complaint            the court to draw the reasonable inference that the
liberally, accepting all factual allegations in the     defendant is liable for the misconduct alleged. A
complaint as true, and drawing all reasonable           well-pleaded complaint will include facts that raise
inferences in the plaintiff's favor.                    a right to relief above the speculative level. The
                                                        plausibility standard is not akin to a probability
                                                        requirement, but it asks for more than a sheer
   Torts > ... > Defamation > Public                    possibility that a defendant has acted unlawfully.
   Figures > Actual Malice

   Torts > Intentional                                      Civil Procedure > ... > Defenses, Demurrers &
   Torts > Defamation > Elements                            Objections > Motions to Dismiss > Failure to
                                                            State Claim
HN2[ ] Public Figures, Actual Malice
                                                            Civil Procedure > Judgments > Pretrial
Under New York law a defamation plaintiff must              Judgments > Judgment on Pleadings
establish five elements: (1) a written defamatory
statement of and concerning the plaintiff, (2)              Civil Procedure > ... > Summary
publication to a third party, (3) fault, (4) falsity of     Judgment > Motions for Summary
the defamatory statement, and (5) special damages           Judgment > Notice Requirement
or per se actionability. In addition, a public figure
plaintiff must prove that an allegedly libelous HN5[ ] Motions to Dismiss, Failure to State
statement was made with actual malice, that is, Claim
made with knowledge that it was false or with
                                                        Fed. R. Civ. P. 12(d) provides: If, on a motion
reckless disregard of whether it was false or not.
                                                        under Rule 12(b)(6) or 12(c), matters outside the
                                                        pleadings are presented to and not excluded by the

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court, the motion must be treated as one for            principles of substance rather than form and the
summary judgment under Fed. R. Civ. P. 56. All          essential inquiry is whether the appellant should
parties must be given a reasonable opportunity to       reasonably have recognized the possibility that the
present all the material that is pertinent to the       motion might be converted into one for summary
motion. Rule 12(d), therefore, presents district        judgment.
courts with only two options: (1) the court may
exclude the additional material and decide the
motion on the complaint alone or (2) it may convert        Civil Procedure > Judgments > Summary
the motion to one for summary judgment under               Judgment > Evidentiary Considerations
Fed. R. Civ. P. 56 and afford all parties the
opportunity to present supporting material.             HN8[ ] Summary            Judgment,      Evidentiary
                                                        Considerations

                                                        At the summary judgment stage credibility
   Civil Procedure > ... > Defenses, Demurrers &
                                                        determinations, the weighing of the evidence, and
   Objections > Motions to Dismiss > Failure to
                                                        the drawing of legitimate inferences from the facts
   State Claim
                                                        are jury functions, not those of a judge.
   Civil Procedure > Judgments > Pretrial
   Judgments > Judgment on Pleadings
                                                           Civil Procedure > ... > Defenses, Demurrers &
HN6[ ] Motions to Dismiss, Failure to State                Objections > Motions to Dismiss > Failure to
Claim                                                      State Claim

Extraneous material is not outside the pleadings, for      Governments > Courts > Rule Application &
purposes of Fed. R. Civ. P. 12(b)(6) or 12(c), when        Interpretation
the material is integral to complaint and relied upon
by the plaintiff in framing the complaint. A matter        Civil
is deemed integral to the complaint when the               Procedure > ... > Pleadings > Complaints > Req
complaint relies heavily upon its terms and effect.        uirements for Complaint
Typically, an integral matter is a contract,
agreement, or other document essential to the           HN9[ ] Motions to Dismiss, Failure to State
litigation. Hearing testimony elicited by the trial     Claim
judge after litigation has already begun is not the
                                                        Despite the flexibility that is accorded district
type of material that ordinarily has the potential to
                                                        courts to streamline proceedings and manage their
be a matter integral to a plaintiff's complaint.
                                                        calendars, district courts are not free to bypass rules
                                                        of procedure that are carefully calibrated to ensure
                                                        fair process to both sides. While Twombly and
   Civil Procedure > ... > Summary                      Iqbal often place difficult determinations on district
   Judgment > Motions for Summary                       courts, the district court's gatekeeping procedures
   Judgment > Notice Requirement                        must nevertheless comply with the Federal Rules of
                                                        Civil Procedure.
HN7[ ] Motions for Summary Judgment,
Notice Requirement

The conversion of a Fed. R. Civ. P. 12(b)(6) motion        Civil Procedure > Appeals > Standards of
into one for summary judgment is governed by               Review > De Novo Review

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   Civil Procedure > ... > Responses > Defenses,           Torts > ... > Defamation > Public
   Demurrers & Objections > Motions to Dismiss             Figures > Actual Malice

HN10[ ]      Standards of Review, De Novo               HN14[ ] Public Figures, Actual Malice
Review
                                                        Actual malice does not mean maliciousness or ill
The court of appeals' review of the grant of a          will; it simply means the statement was made with
motion to dismiss is de novo.                           knowledge that it was false or with reckless
                                                        disregard of whether it was false or not. The
                                                        reckless conduct needed to show actual malice is
   Torts > ... > Defamation > Public                    not measured by whether a reasonably prudent man
   Figures > Actual Malice                              would have published, or would have investigated
                                                        before publishing, but by whether there is sufficient
HN11[ ] Public Figures, Actual Malice                   evidence to permit the conclusion that the
                                                        defendant in fact entertained serious doubts as to
A newspaper's motive in publishing a story cannot       the truth of his publication.
provide a sufficient basis for finding actual malice.

                                                           Civil Procedure > ... > Defenses, Demurrers &
   Torts > ... > Defamation > Public                       Objections > Motions to Dismiss > Failure to
   Figures > Actual Malice                                 State Claim
HN12[ ] Public Figures, Actual Malice                      Torts > Intentional
                                                           Torts > Defamation > Elements
Actual malice may be satisfied upon a showing the
statement was made with reckless disregard of              Civil
whether it was false or not.                               Procedure > ... > Pleadings > Complaints > Req
                                                           uirements for Complaint

   Civil Procedure > ... > Defenses, Demurrers &           Torts > Intentional
   Objections > Motions to Dismiss > Failure to            Torts > Defamation > Procedural Matters
   State Claim
                                                        HN15[ ] Motions to Dismiss, Failure to State
   Civil                                                Claim
   Procedure > ... > Pleadings > Complaints > Req
   uirements for Complaint                              A defamation plaintiff must allege that the
                                                        purportedly defamatory statement was of and
HN13[ ] Motions to Dismiss, Failure to State            concerning him or her. The plaintiff need only
Claim                                                   plead sufficient facts to make it plausible—not
                                                        probable or even reasonably likely—that a reader
On a motion to dismiss, the test is whether the         familiar with the plaintiff would identify the
complaint is plausible, not whether it is less          plaintiff as the subject of the statements at issue.
plausible than an alternative explanation. The
plausibility standard is not akin to a probability
requirement.                                               Torts > ... > Defamation > Defenses > Fair
                                                           Comment & Opinion


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HN16[ ] Defenses, Fair Comment & Opinion                          converting the proceeding to one for summary
                                                                  judgment, [*3] the district court relied on evidence
Under New York law differentiating opinion from                   adduced at that hearing to dismiss Palin's complaint
actionable fact involves a determination of whether               under Federal Rule of Civil Procedure 12(b)(6).
the statement is capable of being objectively                     We find that the district court erred in relying on
characterized as true or false.                                   facts outside the pleadings to dismiss the complaint.
                                                                  We further conclude that Palin's Proposed
Counsel: ELIZABETH M. LOCKE, Clare Locke                          Amended Complaint plausibly states a claim for
LLP, Alexandria, [*2] VA (Thomas A. Clare,
                                                                  defamation and may proceed to full discovery.
Joseph R. Oliveri, Clare Locke LLP, Alexandria,
VA; Kenneth G. Turkel, Shane B. Vogt, Bajo Cuva                   We therefore VACATE and REMAND for
Cohen Turkel P.A., Tampa, FL; S. Preston Ricardo,                 proceedings consistent with this opinion.
Golenbock Eiseman Assor Bell & Peskoe LLP,
New York, NY, on the brief), for Plaintiff-
Appellant.                                                        BACKGROUND
LEE LEVINE, Ballard Spahr LLP, Washington,                        On January 8, 2011, Jared Loughner opened fire at
DC (Jay Ward Brown, Ballard Spahr LLP,                            a political rally for Democratic Congresswoman
Washington, D.C.; David A. Schultz, Ballard Spahr                 Gabrielle Giffords in Tucson, Arizona ("the
LLP, New York, NY; David E. McCraw, The New                       Loughner shooting"), killing six people and
York Times, New York, NY, on the brief), for                      injuring thirteen others. Representative Giffords
Defendant-Appellee.                                               was seriously wounded in the attack.

Judges: Before: WALKER and CHIN, Circuit                            Shortly before the tragic attack, Sarah Palin's
Judges, and KEENAN.*                                                political action committee ("SarahPAC") had
                                                                    circulated a map that superimposed the image of a
Opinion by: JOHN M. WALKER, JR.                                     crosshairs target over certain Democratic
                                                                    congressional districts (evoking, in the view of
Opinion                                                             many, images of violence). Giffords' district was
                                                                    among those targeted by the SarahPAC crosshairs
                                                                    map. The image had been publicized during the
JOHN M. WALKER, JR., Circuit Judge:                                 earlier political controversy surrounding the
                                                                    Affordable Care Act, but in the wake of the
This case is ultimately about the First Amendment,
                                                                    Loughner shooting, some speculated that [*4] the
but the subject matter implicated in this appeal is
                                                                    shooting was connected to the crosshairs map. No
far less dramatic: rules of procedure and pleading
                                                                    evidence ever emerged to establish that link; in
standards. Sarah Palin appeals the dismissal of her
                                                                    fact, the criminal investigation of Loughner
defamation complaint against The New York Times
                                                                    indicated that his animosity toward Representative
("the Times") for failure to state a claim. The
                                                                    Giffords had arisen before SarahPAC published the
district court (Rakoff, J.), uncertain as to whether
                                                                    map.
Palin's complaint plausibly alleged all of the
required elements of her defamation claim, held an Six years later, on June 14, 2017, another political
evidentiary hearing to test the sufficiency of Palin's shooting occurred when James Hodgkinson opened
pleadings. Following the hearing, and without fire in Alexandria, Virginia at a practice for a
                                                                    congressional baseball game. He seriously injured
                                                                    four people, including Republican Congressman
* Judge John F. Keenan, of the United States District Court for the
                                                                    Steve Scalise ("the Hodgkinson shooting"). That
Southern District of New York, sitting by designation.

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same evening, the Times, under the Editorial                           sued the Times in federal court. She alleged one
Board's byline, published an editorial entitled                        count of defamation under New York law.
"America's Lethal Politics" ("the editorial") in                       Thereafter, the Times moved to dismiss Palin's
response to the shooting.                                              complaint for failure to state a claim.

The editorial argued that these two political                          After the motion to dismiss had been fully briefed,
shootings evidenced the "vicious" nature of                            the case [*6] took an unusual procedural turn: the
American politics.1 Reflecting on the Loughner                         district judge held an evidentiary hearing on the
shooting and the SarahPAC crosshairs map, the                          motion to dismiss. The district judge stated that the
editorial claimed that the "link to political                          hearing was to assess the plausibility of the "[o]ne
incitement was clear," and noted that Palin's                          close question" presented by the Times' motion to
political action committee had "circulated a map of                    dismiss: whether Palin had sufficiently pled the
targeted electoral districts that put Ms. Giffords and                 actual malice element of her defamation claim.5
19 other Democrats under stylized cross hairs,"
suggesting that the congressmembers themselves                         The district judge ordered the Times to identify the
had been pictured [*5] on the map.2 In the next                        author of the editorial and the Times produced
paragraph, the editorial referenced the Hodgkinson                     James Bennet, the editorial page editor at the Times
shooting that had happened that day: "Though                           and the author of the editorial, to testify at the
there's no sign of incitement as direct as in the                      hearing. Bennet was the hearing's only witness.
Giffords attack, liberals should of course hold                        Bennet explained at the hearing that his reference to
themselves to the same standard of decency that                        Palin in the editorial was intended to make a
they ask of the right."3                                               rhetorical point about the present atmosphere of
                                                                       political anger. He also recounted the editorial's
The Times faced an immediate backlash for                              research and publication process and answered
publishing the editorial. Within a day, it had                         inquiries about his prior knowledge of the
changed the editorial and issued a correction. The                     Loughner shooting six years earlier and any
Times removed the two phrases suggesting a link                        connection to Palin. Bennet testified that he was
between Palin and the Loughner shooting. Added to                      unaware of any of the earlier articles published by
the editorial was a correction that read: "An earlier                  the Times, or by The Atlantic (where he had
version of this editorial incorrectly stated that a link               previously been the editor-in-chief), that indicated
existed between political incitement and the 2011                      that no connection between Palin or her political
shooting of Representative Gabby Giffords. In fact,                    action committee and Loughner [*7] had ever been
no such link was established."4 The Times also                         established. In addition to answering questions
clarified that the SarahPAC map had overlaid                           from the Times' counsel, Bennet responded to
crosshairs on Democratic congressional districts,                      questions by Palin's counsel and the district judge.
not the representatives themselves.                                    Neither party objected to the district judge's
                                                                       decision to hold the hearing.
Twelve days after the editorial was published Palin
                                                                       On August 29, 2017, the district court, relying on
                                                                       evidence adduced at the hearing, granted the Times'
1 App'x   37.                                                          motion to dismiss. The district court determined
2 App'x 36-37. The crosshairs were put on a map over the locations     that any amendment would be futile and dismissed
of the congressional districts, and the names of the congressmembers   Palin's complaint with prejudice. Later, Palin asked
in question—including Representative Giffords—were listed at the       the district court to reconsider its decision that the
bottom of the page.
3 App'x   41.
4 App'x   22.                                                          5 Order   re: Motion to Dismiss, ECF No. 35.

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dismissal was with prejudice and included a                                Bennet as the author of the editorial, it was his state
Proposed Amended Complaint with her motion.                                of mind that was relevant to the actual malice
The district court denied the motion for                                   determination. We will first address the district
reconsideration and leave to replead. She now                              court's use of the hearing in the process of deciding
appeals.                                                                   the motion to dismiss and then determine whether
                                                                           Palin's Proposed Amended Complaint plausibly
                                                                           states a claim for defamation.
DISCUSSION

HN1[ ] We review a district court's grant of a                             I. The Hearing
motion to dismiss the complaint on the pleadings de
novo and "constru[e] the complaint liberally,                 The pleading standards articulated in Bell Atlantic
accepting all factual allegations in the complaint as         Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955,
true, and drawing all reasonable inferences in the            167 L. Ed. 2d 929 (2007) and Ashcroft v. Iqbal, 556
plaintiff's favor."6                                          U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)
                                                              are well-known: HN4[ ] in order to satisfy
HN2[ ] Under New York law a defamation Federal Rule of Civil Procedure 8, a complaint
plaintiff must establish five elements: (1) a written must contain "enough facts to state a claim to relief
defamatory statement of and concerning the that is plausible on its face."10 A claim is plausible
plaintiff, (2) publication to a third party, (3) fault, "when the plaintiff pleads factual content [*9] that
(4) falsity of [*8] the defamatory statement, and allows the court to draw the reasonable inference
(5) special damages or per se actionability.7 In that the defendant is liable for the misconduct
addition, "a public figure plaintiff must prove that alleged."11 A well-pleaded complaint will include
an allegedly libelous statement was made with facts that "raise a right to relief above the
actual malice, that is, made 'with knowledge that it speculative level."12 "The plausibility standard is
was false or with reckless disregard of whether it not akin to a 'probability requirement,' but it asks
was false or not.'"8 It is undisputed that Palin, a for more than a sheer possibility that a defendant
former governor of Alaska and Republican has acted unlawfully."13
candidate for Vice President in 2008, is a public
figure.                                                       On appeal, Palin argues that the district court's
                                                              reliance on the hearing to decide the motion to
HN3[ ] When actual malice in making a dismiss offends the Federal Rules of Civil
defamatory statement is at issue, the critical Procedure. We agree that the hearing runs headlong
question is the state of mind of those responsible into the federal rules.
for the publication.9 Because the Times identified
                                                              When presented with the Times' Rule 12(b)(6)
                                                              motion to dismiss for failure to state a claim, the
6 Elias v. Rolling Stone LLC, 872 F.3d 97, 104 (2d Cir. 2017)
                                                              district court relied on Rule 43(c) to convene the
(internal quotation marks omitted).

7 See Celle v. Filipino Reporter Enterps. Inc., 209 F.3d 163, 176 (2d      prove acted with actual malice." (citing New York Times, 376 U.S. at
Cir. 2000) (citations omitted).                                            287)).

8 Church  of Scientology Int'l v. Behar, 238 F.3d 168, 173-74 (2d Cir.     10 Twombly,    550 U.S. at 570.
2001) (quoting New York Times Co. v. Sullivan, 376 U.S. 254, 280,
84 S. Ct. 710, 11 L. Ed. 2d 686 (1964)).                                   11 Iqbal,   556 U.S. at 678.

9 Dongguk  Univ. v. Yale Univ., 734 F.3d 113, 123 (2d Cir. 2013)           12 Twombly,    550 U.S. at 555.
("[T]he plaintiff must identify the individual responsible for
publication of a statement, and it is that individual the plaintiff must   13 Iqbal,   556 U.S. at 678.

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hearing at which Bennet testified. The district                        In an effort to salvage the propriety of the
court's invocation of Rule 43(c), which addresses                      district [*11] court's decision, the Times argues
taking testimony at trial, was misplaced: that rule                    that the district court complied with Rule 12(d)
has nothing to do with the proceedings at the                          because it did not rely on matters outside the
motion-to-dismiss stage. Following the hearing, the                    pleadings.16 The Times argues that Bennet's
district court granted the Times' motion to dismiss,                   testimony was not outside the pleadings because it
finding that Palin failed to plausibly allege actual                   presented material integral to the complaint by
malice. This conclusion rested on inferences drawn                     merely adding depth to what was apparent from the
from Bennet's [*10] testimony at the plausibility                      face of Palin's complaint. But the material that
hearing.                                                               came to light at the hearing did considerably more
                                                                       than elaborate on the allegations in the complaint.
HN5[ ] Rule 12(d) provides: "If, on a motion
under Rule 12(b)(6) or 12(c), matters outside the   A matter is deemed "integral" to the complaint
pleadings are presented to and not excluded by the  when the complaint "relies heavily upon its terms
court, the motion must be treated as one for        and effect."17 Typically, an integral matter is a
summary judgment under Rule 56. All parties must    contract, agreement, or other document essential to
be given a reasonable opportunity to present all thethe litigation.18 Hearing testimony elicited by the
                                                    trial judge after litigation has already begun is not
material that is pertinent to the motion." Rule 12(d),
therefore, presents district courts with only two   the type of material that ordinarily has the potential
options: (1) "the court may exclude the additional  to be a matter "integral" to a plaintiff's complaint.
material and decide the motion on the complaint     Regardless, Palin could not have "relie[d]
alone" or (2) "it may convert the motion to one for heavily"19 on Bennet's testimony when drafting her
summary judgment under Fed. R. Civ. P. 56 and       complaint because she had no idea what Bennet
afford all parties the opportunity to present       would say. Bennet's testimony revealed substantive
supporting material."14                             information about his motivations and the editorial
                                                    drafting process—none of which Palin could have
The district judge took neither permissible route known in advance of her pleadings, [*12] much
under Rule 12(d). The judge both relied on matters less "relie[d] heavily" on.20
outside the pleadings to decide the motion to
dismiss and did not convert the motion into one for
summary judgment. To the contrary, his aim was
explicit: to determine whether Palin's complaint 16 See Chambers v. Time Warner, Inc., 282 F.3d 147, 153-54 (2d Cir.
stated a plausible claim for relief under Rule 2002) (holding that HN6[ ] extraneous material is not "outside the
12(b)(6). The district judge explained that "[b]y pleadings" when the material is integral to complaint and relied upon
                                                    by the plaintiff in framing the complaint).
requiring district courts to make plausibility
determinations based on the pleadings, the Supreme 17 Id. at 153 (internal quotation marks omitted).
Court has, in effect, made district courts
                                                    18 See Glob. Network Commc'ns, Inc. v. City of New York, 458 F.3d
gatekeepers."15
                                                                       150, 157 (2d Cir. 2006) ("In most instances . . . the incorporated
                                                                       material is a contract or other legal document containing obligations
                                                                       upon which the plaintiff's complaint stands or falls . . . ."); see also
                                                                       Nicosia v. Amazon.com, Inc., 834 F.3d 220, 234 (2d Cir. 2016) (an
14 Kopec v. Coughlin, 922 F.2d 152, 154 (2d Cir. 1991) (quoting        "order page" and "conditions of use" agreement were integral to the
Fonte v. Bd. of Managers of Continent Towers Condo., 848 F.2d 24,      complaint when the complaint contained numerous references to
25 (2d Cir. 1988)).                                                    them).

15 Palin v. New York Times Co., 264 F. Supp. 3d 527, 530 n.1           19 Chambers,   282 F.3d at 153 (internal quotation marks omitted).
(S.D.N.Y. 2017) (citing Iqbal, 556 U.S. at 662; Twombly, 550 U.S. at
554) (internal citations omitted).                                     20 Id.



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The Times falls back on the argument that, even if                         because the district court's opinion relied on
the district court relied on matters outside the                           credibility determinations not permissible at any
pleadings, we may treat the motion as if it had been                       stage before trial.25 As we will discuss in the next
converted to a motion for summary judgment. We                             section, the district court's acceptance of Bennet's
have held that HN7[ ] the "conversion of a Rule                            testimony as credible was what led it to grant the
12(b)(6) motion into one for summary judgment is                           Times' motion to dismiss.
governed by principles of substance rather than
form"21 and that "[t]he essential inquiry is whether  The Times also argues that Palin was not deprived
the appellant should reasonably have recognized       of a meaningful opportunity to conduct discovery
the possibility that the motion might be converted    "pertinent to the motion."26 Presumably, the Times
into one for summary judgment."22                     is referring to "discovery" on the spot: Bennet's
                                                      testimony and some related documents. Even
We decline to treat the Rule 12(b)(6) motion here assuming that the hearing afforded Palin all of the
as having been converted to one for summary discovery to which she was entitled, this fact does
judgment. Apart from the fact that the able and not mitigate the errors committed by the district
highly experienced district judge did not purport to court.
convert the motion, Palin had no prior notice that
the district court might resolve the Times' Rule It is clear to us that the district court viewed the
12(b)(6) motion after the judge's sua sponte hearing as a way to more expeditiously decide
hearing, much less that he might treat the motion as whether Palin had a viable way to establish actual
one for summary judgment. Indeed, the district malice. But, HN9[ ] despite the flexibility that is
court was explicit about treating the motion only as accorded       district  courts     to    streamline
a test of the sufficiency of the pleadings. The Times proceedings [*14] and manage their calendars,
relies on cases where the plaintiff had adequate district courts are not free to bypass rules of
notice and the district court simply neglected to procedure that are carefully calibrated to ensure fair
properly convert [*13] the motion.23 This is not a process to both sides. The procedural path followed
situation in which where the plaintiff ought to have by the district court conforms to neither of the two
seen a summary-judgment decision coming.24            options permitted by Rule 12(d). While we are
                                                      cognizant of the difficult determinations that
Even if the plaintiff had been given notice and the Twombly and Iqbal often place on district courts,
court had explicitly converted the motion to one for the district court's gatekeeping procedures must
summary judgment, we would still have to vacate nevertheless comply with the Federal Rules of Civil
                                                      Procedure.

21 In   re G &A Books, 770 F.2d 288, 295 (2d Cir. 1985).
                                                                           II. Palin's Proposed Amended Complaint
22 Id.;
      see also Kennedy v. Empire Blue Cross & Blue Shield, 989
F.2d 588, 592 (2d Cir. 1993).
                                                                           25 See Soto v. Gaudett, 862 F.3d 148, 157 (2d Cir. 2017) (noting that
23 SeeG & A Books, 770 F.2d at 295; Northville Downs v.                    HN8[ ] at the summary judgment stage "[c]redibility
Granholm, 622 F.3d 579, 585-86 (6th Cir. 2010).                            determinations, the weighing of the evidence, and the drawing of
                                                                           legitimate inferences from the facts are jury functions, not those of a
24 In fact, the hearing transcript reflects the understandable confusion   judge" (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255,
of Palin's counsel. App'x 395-97 (The Court: "Neither side raised          106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986))).
any objection to my holding [the evidentiary] hearing . . . Counsel: . .
. It wasn't a normal kind of hearing during a 12(b)(6) . . . . And to be   26 Fed.  R. Civ. P. 12(d); see United States ex rel. Chorches v. Am.
honest, Judge, we really wouldn't have tendered an objection because       Med. Response, Inc., 865 F.3d 71, 88 n.13 (2d Cir. 2017) (noting the
we were trying to get a better understanding of kind of what the           district court's "broad discretion to limit discovery in a prudential
inquiry was . . . .").                                                     and proportionate way" (internal quotation marks omitted)).

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Having determined that the district court erred in                  PAC contains allegations that paint a plausible
relying on evidence that came to light in the                       picture of this actual-malice scenario in three [*16]
plausibility hearing when it granted the Times'                     respects: (1) Bennet's background as an editor and
motion to dismiss, we must ascertain what effect, if                political advocate provided sufficient evidence to
any, that error had on the dismissal of Palin's                     permit a jury to find that he published the editorial
defamation complaint. To do so, we will review                      with deliberate or reckless disregard for its truth,
Palin's Proposed Amendment Complaint ("the                          (2) the drafting and editorial process also permitted
PAC") to determine whether she stated a plausible                   an inference of deliberate or reckless falsification,
claim for defamation. Because of the district court's               and (3) the Times' subsequent correction to the
decision to hold the plausibility hearing, this case                editorial did not undermine the plausibility of that
comes to us in unique form. After the district court                inference.
dismissed her claim with prejudice, Palin attached a
PAC to her motion for reconsideration of the "with                  First, Palin alleges that, because of the editorial
prejudice" part of the dismissal. [*15] The PAC                     positions Bennet held at The Atlantic and The New
included certain material added by the hearing and                  York Times, a jury could plausibly find that Bennet
we discern no fault here because Bennet's                           knew before publishing the editorial that it was
testimony, reliable or not, was now part of the                     false to claim that Palin or her political action
record. The district court denied the motion for                    committee were connected to the Loughner
reconsideration, finding that leave to replead would                shooting.
be futile and that the PAC suffered the same "fatal                 The PAC alleges that, from 2006 to 2016, Bennet
flaws" as the original complaint.27 HN10[ ] Our                     was the editor-in-chief of The Atlantic, where "he
review of the grant of a motion to dismiss is de                    was responsible for the content of, reviewed, edited
novo;28 therefore we now turn to whether the PAC                    and approved the publication of numerous articles
states a plausible claim for relief. We conclude that               confirming there was no link between Mrs. Palin
it does.                                                            and Loughner's shooting."30 The complaint
In the Times' view, the district court correctly                    references several articles about the Loughner
determined that Palin's original complaint and the                  shooting published by The Atlantic during Bennet's
PAC both gave rise to only one plausible                            tenure, the most notable of which is entitled "Ten
conclusion: that Bennet made an unintended                          Days That Defined 2011." The part [*17] of that
mistake by including the erroneous facts about                      article discussing the Loughner shooting reads: ". . .
Palin. We disagree.                                                 the bad thing to come out of this already terrible
                                                                    story was a round of blame hurling, with people
In both the original complaint and the PAC, Palin's                 rushing to point at Sarah Palin's infamous target
overarching theory of actual malice is that Bennet                  map . . . . In truth, Loughner is clinically insane and
had a "pre-determined" argument he wanted to                        this was not really about politics at all."31
make in the editorial.29 Bennet's fixation on this set
goal, the claim goes, led him to publish a statement At the hearing, Bennet stated that he could not
about Palin that he either knew to be false, or at recall reading those articles, and even if he had read
least was reckless as to whether it was false. The them, he did not have them in mind when he
                                                       published the editorial. The district court, in
                                                       rejecting Palin's theory as implausible, credited this
27 Memorandum       and Order denying Motion for Reconsideration,
ECF No. 61.
                                                                    30 App'x   481.
28 Elias,   872 F.3d at 104.                                        31 Richard   Lawson, Ten Days That Defined 2011, The Atlantic, Dec.
29 App'x    472.                                                    29, 2011.

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testimony as truthful when it found that Bennet's                      allegations are relevant to the credibility of
failure to read the articles was simply a research                     Bennet's testimony that he was unaware of facts
failure that did not rise to the level of actual malice.               published on his watch relating to the Loughner
                                                                       shooting and that he made a mistake when he
By crediting Bennet's testimony, the district court                    connected Palin to the that shooting. Palin's
rejected a permissible inference from the articles:                    allegations present a plausible inference that
that one who had risen to editor-in-chief at The                       Bennet's claim of memory loss is untrue.
Atlantic knew their content and thus that there was
no connection between Palin and the Loughner                           At a minimum, these allegations give rise to a
shooting. That Palin's complaint sufficiently alleges                  plausible inference that Bennet was recklessly
that Bennet's opportunity to know the journalistic                     disregarding the truth when he published the
consensus that the connection was lacking gives                        editorial without reacquainting himself with the
rise to the inference that he actually did know.                       contrary articles published in The Atlantic six years
                                                                       earlier.34 And that plausible inference of reckless
The PAC [*18]          also includes allegations                       disregard is strengthened when added to Palin's
suggesting that Bennet in particular was more                          allegations that Bennet had reason to be personally
likely than the average editor-in-chief to know the                    biased against Palin and pro-gun positions in
truth about the Loughner shooting because he had                       general. When properly viewed in the plaintiff's
reason to be personally hostile toward Palin, her                      favor, a reasonable factfinder could conclude this
political party, and her pro-gun stance. Bennet's                      amounted to more than a mistake due to a research
brother, a Democrat, had served as a United States                     failure.
Senator for Colorado since 2009. In 2010, Senator
Bennet was endorsed by two House members               Second, the PAC also alleges that certain aspects of
whose districts had been targeted by the SarahPAC      the drafting and publication process of the editorial
map. Two days before the Loughner shooting, a          at The New York Times permits an inference of
man threatened to open fire on Senator Bennet's        actual malice. Elizabeth Williamson, the
offices, and thereafter both Bennet brothers became    editorial [*20] writer who drafted the initial
"outspoken advocate[s] for gun control."32 Also,       version of the editorial, had hyperlinked in her draft
during the 2016 election, Palin endorsed Senator       an article entitled "Sarah Palin's 'Crosshairs' Ad
Bennet's opponent and Representative Giffords          Dominates Gabrielle Giffords Debate." The article
endorsed Senator Bennet.                               stated, contrary to the claim in the published
                                                       editorial, that "[n]o connection" was made between
The district court gave no weight to these the SarahPAC map and Loughner.35 The link was
allegations, finding that political opposition did not also included in the final version of the editorial, a
rise to the level of actual malice. We agree with the version that Bennet essentially rewrote. The Times
district court that political opposition alone does argues that the hyperlink shows the absence of
not constitute actual malice, but we conclude that malice. But the PAC alleges that, by including a
these allegations could indicate more than sheer hyperlink that contradicted the argument of his
political bias—they arguably show that Bennet had
a personal connection to a potential shooting that publishing a story . . . cannot provide a sufficient basis for finding
animated his hostility [*19] to pro-gun positions at actual malice." (quoting Harte-Hanks Commc'ns, Inc. v.
the time of the Loughner shooting in 2011.33 Palin's Connaughton, 491 U.S. 657, 665, 109 S. Ct. 2678, 105 L. Ed. 2d 562
                                                                       (1989))).

                                                                       34 See
                                                                            Behar, 238 F.3d at 173-74 HN12[ ] (actual malice satisfied
32 App'x   480.
                                                                       upon a showing the statement was made "with reckless disregard of
33 Cf.                                                                 whether it was false or not" (internal quotation marks omitted)).
     Jankovic v. Int'l Crisis Grp., 822 F.3d 576, 590, 422 U.S. App.
D.C. 259 (D.C. Cir. 2016) HN11[ ] ("[A] newspaper's motive in          35 App'x   642-43.

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editorial, Bennet "willfully disregarded the truth."36                       the district court's conclusion [*22] that Bennet
                                                                             was credible—but it is the jury that must decide.
The district court, siding with the Times, concluded                         Therefore, at the pleading stage, we are satisfied
that including the hyperlinked article was further                           that Palin has met her burden to plead facts giving
evidence of simple mistake. After crediting                                  rise to the plausible inference that Bennet published
Bennet's testimony that he did not read the                                  the allegedly defamatory editorial with actual
hyperlinked article, the district judge concluded                            malice. We emphasize that HN14[ ] actual malice
that a mistake was the only plausible explanation.                           does not mean maliciousness or ill will; it simply
But the inclusion of the hyperlinked article gives                           means the statement was "made with knowledge
rise to more than one plausible inference, and any                           that it was false or with reckless disregard of
inference to be drawn from the inclusion of the                              whether it was false or not."39 Here, given the facts
hyperlinked article was for the jury—not the court.                          alleged, the assertion that Bennet knew the
Third, the district court concluded that the                                 statement was false, or acted with reckless
correction swiftly issued by the [*21] Times again                           disregard as to whether the statement was false, is
demonstrated that the only plausible explanation for                         plausible.
the erroneous statements was a mistake. Yet, it is                           The Times also argues that Palin failed to plausibly
also plausible that the correction was issued after a                        allege two other elements of a defamation claim:
calculus that standing by the editorial was not                              (1) that the editorial is not "of and concerning"40
worth the cost of the public backlash. Bennet could                          Palin and (2) the challenged statements cannot
have published the editorial knowing—or                                      reasonably be understood as assertions of provably
recklessly disregarding—the falsity of the claim,                            false fact. The district court considered and rejected
and then decided later that the false allegation was                         both of these arguments, and we agree.
not worth defending.
                                                                             First, Palin has plausibly alleged that the challenged
At bottom, it is plain from the record that the
                                                                             statements are "of and concerning" her.41 The
district court found Bennet a credible witness, and
                                                                             Times argues that SarahPAC, as a political action
that the district court's crediting his testimony
                                                                             committee, is a creature of federal law and [*23]
impermissibly anchored the district court's own
                                                                             entirely distinct from Palin herself. At the pleading
negative view of the plausibility of Palin's
                                                                             stage, however, the bar to satisfy this element is
allegations.
                                                                             low. As we held in Elias, the plaintiff "need only
The district court at one point stated that Bennet's                         plead sufficient facts to make it plausible—not
"behavior is much more plausibly consistent with                             probable or even reasonably likely—that a reader
making an unintended mistake and then correcting
it than with acting with actual malice."37 Perhaps                           a probability requirement . . . .") (internal quotation marks omitted).
so, but it is not the district court's province to
                                                                             39 Behar,
dismiss a plausible complaint because it is not as                                     238 F.3d at 174 (internal quotation marks omitted); see id.
                                                                             ("The reckless conduct needed to show actual malice is not measured
plausible as the defendant's theory. HN13[ ] The
                                                                             by whether a reasonably prudent man would have published, or
test is whether the complaint is plausible, not                              would have investigated before publishing, but by whether there is
whether it is less plausible than an alternative                             sufficient evidence to permit the conclusion that the defendant in fact
explanation.38 The jury may ultimately agree with                            entertained serious doubts as to the truth of his publication." (internal
                                                                             quotation marks and citation omitted)).

36 App'x    494.                                                             40 See   Elias, 872 F.3d at 104.

37 Palin,   264 F. Supp. 3d at 537 (emphasis added).                         41 Id.HN15[       ] ("[A] defamation plaintiff must allege that the
                                                                             purportedly defamatory statement was of and concerning him or her .
38 See   Iqbal, 556 U.S. at 678 ("The plausibility standard is not akin to   . . ." (internal quotation marks omitted)).

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familiar with [the plaintiff] would identify [the                        Indeed, this protection is precisely why Palin's
plaintiff] as the subject of the statements at issue."42                 evidentiary burden at trial—to show by clear and
                                                                         convincing evidence that Bennet acted with actual
Palin's allegations are more than sufficient to                          malice—is high. At the pleading stage, however,
plausibly allege that the challenged statements were                     Palin's only obstacle is the plausibility standard of
"of and concerning" her. The editorial refers to                         Twombly and Iqbal. She has cleared that hurdle.
Palin specifically—"Sarah Palin's political action
committee."43 The legal designation of a political Naturally, we take no position on the merits of
action      committee      under      federal    law Palin's claim.
notwithstanding, Palin has plausibly pleaded that a
reader would identify her as the subject of the
statements. The Times' arguments to the contrary CONCLUSION
are unpersuasive.
                                                      For the reasons stated above, we VACATE and
Second, the Times argues that we can also affirm REMAND the judgment of the district court for
the district court because the challenged statements further proceedings consistent with this opinion.
are not reasonably capable of being proven false.44
The Times claims that Loughner's motivations are        End of Document
ultimately unknowable and speculative. This
objection also goes nowhere. We agree with the
district court that a reasonable reader could view
the challenged statements as factual, namely
that [*24] Palin, through her political action
committee, was directly linked to the Loughner
shooting. The social media backlash that
precipitated the correction further suggests that the
Times' readers perceived the false statements as
fact-based.

We conclude by recognizing that First Amendment
protections are essential to provide "breathing
space" for freedom of expression.45 But, at this
stage, our concern is with how district courts
evaluate pleadings. Nothing in this opinion should
therefore be construed to cast doubt on the First
Amendment's crucial constitutional protections.


42 Id.   at 105 (citing Iqbal, 556 U.S. at 678).
43 App'x    37.

44 SeeMilkovich v. Lorain Journal Co., 497 U.S. 1, 19-20, 110 S. Ct.
2695, 111 L. Ed. 2d 1 (1990); see also Celle, 209 F.3d at 178 (noting
that HN16[ ] under New York law differentiating opinion from
actionable fact involves "a determination of whether the statement is
capable of being objectively characterized as true or false" (internal
quotation marks omitted)).

45 New    York Times, 376 U.S. at 271-72.

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